Case 3:23-cv-01184-AWT Document1 Filed 09/07/23 Page 1 of 6

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

CERTAIN UNDERWRITERS AT LLOYD’S  )
OF LONDON as Subrogree of Consolidated  ) Civil Action No.:
Ass’n of The Birches at Foxon Inc., )
)
Plaintiff, )
)
v. ) JURY TRIAL DEMANDED
)
LC MECHANICAL, llc, f/k/a L.C. )
MECHANICAL, LLC; L.C. MECHANICAL. |)
LLC; and LUIS CORDEIRO, )
)
Defendants. } SEPTEMBER 7, 2023
)
}
COMPLAINT
PARTIES
l. The Plaintiff, Certain Underwriters at Lloyd’s of London subscribing to policy

#W30A41210101 (“Plaintiff”) are foreign organizations and underwriters of insurance policies.
Underwriters are comprised of a group of syndicates acting by and through their appointed active
underwriters and with a principal place of business at | Lime Street, London, England, and
authorized to write policies of insurance in the State of Connecticut, and for all relevant timeframes
set forth herein, insured the real and personal property of Consolidated Ass’n of The Birches at
Foxon Inc.

2. Plaintiff's insured, Consolidated Ass’n of The Birches at Foxon Inc. (the

“Insured”’), owned the real property located at 8 Birch Lane, in East Haven, Connecticut. At all
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relevant times, Plaintiff issued a policy of insurance under policy #W30A41210101 (the
“Policy”) that insured the Insured’s property.

3. Upon information and belief, Defendant LC Mechanical, Ile f/k/a L.C.
Mechanical, LLC, is a Connecticut company, with its principal place of business located at 15
Bittersweet Drive, East Hartford, CT, 06108. Upon information and belief, LC Mechanical, Ilc,
is a successor company of L.C. Mechanical LLC, and was formed in January 2023.

4. Upon information and belief, Defendant L.C. MECHANICAL, LLC, was a
Connecticut company, with its principal place of business located at 15 Bittersweet Drive, East
Hartford, CT, 06108. Upon information and belief, L.C. Mechanical LLC was dissolved in
January 2023 in order to form LC Mechanical llc.

5. Considering both Defendants L.C. Mechanical LLC and LC Mechanical Ile are
the same company with the same business address and principal agent, they will both be
referring to collectively as “LC” in the remainder of this Complaint.

6. Upon information and belief, Defendant Luis Cordeiro (“Defendant Cordeiro” or

collectively, “Defendants”) is an individual residing at 15 Bittersweet Drive, East Hartford,

CT,06108
JURISDICTION AND VENUE
7. This Court has proper subject matter jurisdiction under 28 U.S.C. § 1332 because

the amount in controversy exceeds $75,000 and the parties are diverse.
8. Venue is proper is this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events giving rise to this claim occurred in this jurisdiction.

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GENERAL ALLEGATIONS

9. The Plaintiff insures a 12-unit condominium complex that is located at 8 Birch
Lane, in East Haven, Connecticut (the “Property”).

10. This matter arises out of a fire that occurred at the Property on February 21, 2022
(the “Fire’’).

Il. Upon information and belief, on the day of the Fire, the owner of Unit 8D, Linda
Bongiovanni, hired a plumber, Defendant Cordeiro and/or Defendant LC to replace the hot water
tank in 8D.

12. Defendant Cordeiro and/or LC replaced the hot water tank in 8D.

13. | While replacing the hot water tank, Defendant Cordeiro and/or LC performed hot
work adjacent to a combustible wall (the ‘‘Wall’”).

14. Defendant Cordeiro and/or LC failed to appropriately protect the Wall with a heat
blanket or other fire prevention measures.

15. As a result of Defendant Cordeiro and/or LC’s negligent work, combustible
material inside the Wall ignited and the fire smoldered up the inside of the Wall.

16. A few hours after Defendant Cordeiro and/or LC left, the fire reached the attic
space where it had enough oxygen to ignite and cause the Fire.

17. The Fire damaged the entirety of the building and caused physical damage, water
intrusion, smoke, odor, and other damage throughout the Property requiring remediation.

18. The Insured suffered damages in excess of $1,000,000.00 as a result of the Fire.

19, Asa result of these damages, the Insured made a claim to Plaintiff via a policy of

insurance in effect at the time of the loss. Pursuant to the terms of the Policy, Plaintiff was
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obligated to pay and did pay the Insured an amount in excess of $1,000,000.00 to remediate the
damages due to the Fire.

20. Asa result of the payments to the Insured and by operation of law and contract,
the Plaintiff has become subrogated to the Insured’s recovery rights against Defendants

COUNT I - NEGLIGENCE VS. ALL DEFENDANTS

1-20. Plaintiff re-alleges and incorporates the allegations contained in Paragraphs |
through 20, inclusive, as if herein set forth.

21. At all material times, Defendants owed a duty of due care, to perform plumbing
services in a skillful, workmanlike, and prudent manner consistent with the standard of care in
the industry to ensure that the Property was protected against fire.

22. Furthermore, Defendants owed a duty to complete the work in a safe manner and
SO as not to produce an unreasonable risk of fire damage.

23. Defendants, individually or by and through their agents and employees, breached

their duties owed to the Insured by one or more of the following acts and omissions constituting

negligence:

a. Failing to conduct work in a skillful, workmanlike, prudent, and non-
reckless manner so as to ensure that the Property would be protected from
fire;

b. Failing to complete an inspection following the completion of work for

signs of fire or danger in general;

C. Failing to properly delegate, hire, and/or supervise the workmanship and
safety of the services delegated;

d. Failing to comply with all applicable statutes, ordinances, regulations, and
industry standards;

e. Failing to take all necessary and reasonable precautions so as to prevent
property damage to the Property;

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f. Failing to protect combustible walls with a heat blanket when performing
heat work nearby; and

g. Any other acts of negligence which may be determined through the
process of discovery.

24. —‘As a direct and proximate result of Defendants’ negligence, the Insured sustained
extensive damages.

25. Asa result of these damages, the Insured made a claim under the policy issued to
it by the Plaintiff, and under the policy terms, the Plaintiff issued payment to the Insured.

26. As a result of the payments to the Insured and by operation of law and contract,
Plaintiff has become subrogated to the Insured’s recovery rights against Defendants.

WHEREFORE, Plaintiff respectfully requests this Court to award it a judgment against
Defendants for the loss as a result of its negligence, together with costs, attorney’s fees and

expenses, pre- and post-judgment interest, and any other relief this Court deems just and proper.

RESPECTFULLY SUBMITTED,
THE PLAINTIFF,

yy: TD

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Fax. (248)-593-5808
emalinowski@dt-law.com

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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEK INSTRUCTIONS ON NEXT PAGE OF THIS FORM |

I]. (a) PLAINTIFFS DEFENDANTS
Certain Underwriters at Lloyd's, London a/s/o LC Mechanical, llc fikfa L.C. Mechanical, LLC, L.C.
Consolidated Ass'n of The Birches at Foxon, Inc Mechanical, LLC, and Luis Cordeiro

(b) County of Residence of First Listed Plaintiff London County of Residence of First Listed Defendant Hartford
(EXCEPT IN ULS. PLAINTIF I’ CASES) (IN U.S. PLAINTIFF CASES ONLY

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

JS 44 (Rev 04/21)

NOTE

(ce) Attomeys (Firm Name, Address, and Telephone Number) Altomeys if Known)

Derek E. Donnelly, Esq. Blackburn & Donnelly, LLC,

2 Concorde Way, P.O. Box 608, Windsor Locks, CT
06096. Ph. (860)-292-1116

Il. BASIS OF JURISDICTION ¢Piace an “Xin One Box Only) ill. CITIZENSHIP OF PRINCIPAL PARTIES (piace an “¥" 11 One Box far Plainugf
(For Diversity Cases Onty) and One Box for Defendant)
LC]! US. Government [43 Federal Question PTF DEF PTF DEF
Plaintiff (LS. Government Not a Party) Citizen of This State (11) = (2) L Incorporated er Principal Place Oo 4 [xj4
of Business In This State
[]2 US Government [x]4 Diversity Citizen of Another State (12 (CJ 2 Incorporated ana Principal Place = =[[] 5 ([]5
Defendant (Indicate Curzenshup of Parties mi item Hi) of Business In Another State
Ciuzen or Subject of a C13) (] 3 Foreign Nation Ix] 6 [Jo
Foreign Country
IV. NATURE OF SUIT (Ptace an “x in One Box Onty) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY | 1625 Drug Related Seizure 422 Appeal 28 WSC 158 375 False Claims Act
120 Marine 310 Airplane Oo 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 1690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability CJ 367 Health Care/ INTELLECTUAL | 400 State Reapportionment
LJ 150 Recovery of Overpayment |) 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS |] 410 Antitrust
& Enforcement of Judgment Slander Personat Injury 820 Copyrights 430 Banks and Banking
H 151 Medicare Act |_| 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability [_] 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
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(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
[[] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets |] 480 Consumer Credit
__ of Veteran's Benefits 350 Moter Vehicle H 370 Other Fraud j710 Fait Labor Standards Act of 2016 (13 USC 1681 or 1692)
|_| 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act 485 Telephone Consumer
[| 190 Other Contract Product Liability [x] 380 Other Personal 720 Labor/Management SOCIAL SECURITY Protection Act
|] 195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395f) 490 Cable/Sal TV
] 196 Franchise Injury oO 385 Property Damage ie Railway Labor Act 862 Black Lung (923) | 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(¢)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |] 890 Other Statutory Actions
| REAL PROPERTY.  CI¥iIL RIGHTS PRISONER PETITIONS 1790 Other Labor Litigation |_| 865 RSI (405(g)) | 891 Agneulwural Acts
|__| 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: |_| 791 Employee Retirement | | 893 Environmental Matters
|_| 220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act | FEDERAL TAX SUFZS 895 Freedom of Information
| 230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate |] 870 Taxes (U.S. Plaintiff Act
|_| 240 Torts to Land 443 Housing’ Sentence or Defendant) $96 Arbitration
|_| 245 Tort Product Liability Accommodations P| 530 General r | 871 IRS—Third Party | 899 Administrative Procedure
[| 290 All Other Real Property  [—] 445 Amer. w/Disabilities -[] 535 Death Penalty [IMMIGRATION ___; 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
[_] 446 Amer. wiDisabilities -[__] 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
_] 448 Education 555 Prison Condition
560 Civil Detainee -
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V. ORIGIN ¢Ptace an "N° a One Box Only)

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VI. CAUSE OF ACTION 28:1332pd

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes untess diversity}:

Brief description of cause:

Defendants negligent work and failure to protect combustible walls caused extensive fire damage at the Insured's property.

VIL, REQUESTED IN = ([] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. Excess of $75,000.00 JURY DEMAND: — Byes [No
VIII RELATED CASE(S)
See pinructions):
IF ANY Mee meinen UDGE DOCKET NUMBER
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